     Case 3:17-cv-02320-L-BT Document 51 Filed 09/17/18                  Page 1 of 4 PageID 474


                              IN THE UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

GUY DON MINZE,                                     §
                                                   §
                 Plaintiff,                        §
v.                                                 §    Civil Action No. 3:17-CV-2320-L
                                                   §
ADAM KING; ABEL FLORES; and                        §
JESSICA PORTER,                                    §
                                                   §
                 Defendants.                       §

                                               ORDER

         On August 30, 2018, United States Magistrate Judge Rebecca Rutherford entered the

Findings, Conclusions and Recommendation of the United States Magistrate Judge (“Report”),

recommending as follows:

                 The Court should DENY Defendant King’s Motion to Deem Motion to
         Dismiss as Unopposed (ECF No. 49). The Court should DENY Defendant King’s
         Motion to Dismiss (ECF No. 30) under Fed. R. Civ. P. 12(b)(2), (4) & (5), but
         GRANT the Motion under Fed. R. Civ. P. 12(b)(6) and dismiss with prejudice all of
         Plaintiff’s claims and causes of action against Defendant King.

                 The Court also should DENY the LaSalle Defendants’ Motion to Dismiss
         (ECF No. 21) under Fed. R. Civ. P. 12(b)(2), (4) & (5), but GRANT in part the
         Motion under Fed. R. Civ. P. 12(b)(6). The Court should dismiss with prejudice
         Plaintiff’s claims against the LaSalle Defendants [Defendants Abel Flores and Jessica
         Porter] for violations of Plaintiff’s Eighth Amendment rights, nonfeasance, and
         misfeasance. The Court should DENY the Motion to Dismiss under Fed. R. Civ. P.
         12(b)(6) as to Plaintiff’s claims against the LaSalle Defendants for deliberate
         indifference under the Fourteenth Amendment and gross negligence.

                 Further, the Court should, in the exercise of its discretion, extend the period
         for effecting service of the summons and original complaint upon the LaSalle
         Defendants to the date[,]which is 30 days after the Court enters an Order Accepting
         these Findings, Conclusions, and Recommendation. The Court should direct the
         [United States Marshals Service] to use due diligence to search for personal
         addresses for each of the LaSalle Defendants and to effect proper service before the


Order – Page 1
  Case 3:17-cv-02320-L-BT Document 51 Filed 09/17/18                     Page 2 of 4 PageID 475


        expiration of the extended deadline. The LaSalle Defendants should be granted a
        similar extension of time to file their answers.

Report 24-25. The magistrate judge further recommended that, although Plaintiff is proceeding pro

se, the court should not allow him to amend his pleadings because:

        In this case, Plaintiff has been on notice of the deficiencies in his pleading since
        November 2017. With respect to his claims against Defendant King, Plaintiff never
        filed a response to any of the Motions to Dismiss and never gave the Court any
        indication that he could cure the defects identified in the motion. As to the LaSalle
        Defendants, Plaintiff similarly gave the Court no reason to believe that he could
        replead any of the challenged claims in a manner that would state a claim for relief.
        Plaintiff has never asked the Court for leave to amend. Accordingly, the District
        Court should dismissed with prejudice all of Plaintiff’s claims, except his claims
        against the LaSalle Defendants for deliberate indifference and gross negligence.

Id. at 23-24.

        No objections to the Report were filed by any Defendant within the time allowed for doing

so, and, as of the date of this order, Plaintiff’s deadline for filing objections had not expired because

he is incarcerated and receiving service of documents filed in this case by mail. For the reasons that

follow, however, the court determines that Plaintiff will not be prejudiced by the entry of this order

before expiration of his deadline to file objections.

        After carefully reviewing the motions, pleadings, file, record in this case, and Report, the

court determines that the findings and conclusions of the magistrate judge are correct but, because

it is unclear whether the deficiencies noted in the Report are incurable or whether Plaintiff has

pleaded his “best case,” and he has not previously amended his pleadings, the court will give him

the opportunity to do so. Accordingly, the court accepts the findings and conclusions of the

magistrate judge as modified by this order; denies without prejudice the LaSalle Defendants’

Motion to Dismiss (Doc. 21); denies without prejudice Defendant King’s Motion to Dismiss (Doc.



Order – Page 2
  Case 3:17-cv-02320-L-BT Document 51 Filed 09/17/18                    Page 3 of 4 PageID 476


30); and denies as moot Defendant King’s Motion to Deem [His] Motion to Dismiss as Unopposed

(Doc. 49).

        Plaintiff shall file an amended complaint by October 15, 2018, that cures the deficiencies

noted in the Report regarding his claims against Defendants. No new claims may be asserted by

Plaintiff until the deficiencies regarding his current claims against Defendants have been cured.

Failure to file an amended complaint by this date will result in dismissal without prejudice of

Plaintiff’s claims under Federal Rule of Civil Procedure 41(b) for failure to prosecute and comply

with a court order or dismissal with prejudice under Federal Rule of Civil Procedure 12(b)(6) for

failure to state a claim upon which relief can be granted. Additionally, out of fairness to all parties,

the court will not consider matters regarding any claims or defenses asserted in this case that are

submitted ex parte. Accordingly, any response to a motion, objection to an order by the magistrate

judge or this court, objection to a recommendation issued by the magistrate judge, or motion must

be filed Plaintiff and served on Defendants via their designated counsel, not ex parte.

        Further, the court extends the period for effecting service of the summons and the amended

complaint on Defendants Abel Flores and Jessica Porter to 30 days after the date Plaintiff’s amended

complaint is docketed and directs the United States Marshals Service to exercise due diligence to

search for the personal addresses of all Defendants named in the amended complaint, except for

Adam King, who, according to the Report, waived service, and to effect proper service on them in

accordance with the Report before expiration of the extended deadline for service. The deadline for

all named Defendants, except Adam King, to file an original answer or otherwise respond to the

amended complaint shall run and be calculated from the time each Defendant is served with a copy

of the summons and Plaintiff’s amended complaint.


Order – Page 3
 Case 3:17-cv-02320-L-BT Document 51 Filed 09/17/18            Page 4 of 4 PageID 477


       It is so ordered this 17th day of September, 2018.



                                                   _________________________________
                                                   Sam A. Lindsay
                                                   United States District Judge




Order – Page 4
